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                IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE
__________________________________________
                                           )
In re:                                     ) Chapter 11
                                           )
W.R. GRACE & CO., et al.,                  ) Case No. 01-1139 (JKF)
                                           )
                  Debtors.                 ) Objection Deadline: May 13, 2008 at 4:00 p.m.
__________________________________________)  Ref . No. 18592




      CERTIFICATION OF NO OBJECTION REGARDING DOCKET NO. 18592
                        (NO ORDER REQUIRED)


       The undersigned hereby certifies that, as of the date hereof, she has received no answer,

objection or other responsive pleading to the Twenty-Fifth Monthly Interim Application for

Compensation for Services Rendered and Reimbursement of Expenses (the “Application”) of

Orrick, Herrington & Sutcliffe LLP (“Orrick”), Bankruptcy Counsel to David T. Austern, Future

Claimants’ Representative, for the period from February 1, 2008 though February 29, 2008 (the

“Period”), filed with the Court on April 23, 2008, and entered on the Court’s docket as Docket

No. 18592. The undersigned further certifies that she has caused the Court’s docket in this case

to be reviewed and no answer, objection or other responsive pleading to the Application appears

thereon. Pursuant to the Application, objections to the Application were to be filed no later than

May 13, 2008.

       Pursuant to the Administrative Order Under 11 U.S.C. §§ 105(a) and 331 Establishing

Procedures for Interim Compensation and Reimbursement for Expenses for Professionals and

Official Committee Members entered April 17, 2002, amending the Court’s Administrative

Order Pursuant to Sections 105(a) and 331 of the Bankruptcy Code Establishing Procedures for

Allowance and Payment of Monthly Interim Compensation and Reimbursement of Expenses of
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Professionals entered May 3, 2001, the Debtors are authorized to pay Orrick $465,401.00 (80%

of $581,751.25) and expenses in the amount of $113,062.23, for a total amount of $578,463.23

requested in the Application for the Period upon the filing of this Certification and without the

need for entry of a Court order approving the Application.


                                      ORRICK, HERRINGTON & SUTCLIFFE LLP


                                      By: /S/ DEBRA L. FELDER
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                                         Representative

                                      —and—

                                          PHILLIPS, GOLDMAN & SPENCE, P.A.
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                                         Representative

Dated: May 15, 2008




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